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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION


 STATE OF LOUISIANA                                  CASE NO. 2:23-CV-00692

 VERSUS                                              JUDGE JAMES D. CAIN, JR.

 U S ENVIRONMENTAL PROTECTION                        MAGISTRATE JUDGE KAY
 AGENCY ET AL

                                    MINUTES OF COURT:
                                       Motion Hearing
  Date:               01/09/2024        Presiding: Judge James D. Cain, Jr.
  Court Opened:       10:06 AM          Courtroom Deputy:     Tina Stewart
  Court Adjourned:    12:07 PM          Court Reporter:       D D Juranka
  Statistical Time:   2:01              Courtroom:            CR4

                                      APPEARANCES
  Joseph Scott St. John                     For    State of Louisiana, Plaintiff
  Alexander William Resar; Alisa Philo;     For    U S Environmental Protection
  Andrew James Rising; Michael Andrew Zee          Agency; Michael Reagan; Lilian
                                                   Dorka; U S Dept of Justice; Merrick
                                                   Garland; USA, Defendants
                                       PROCEEDINGS

 This matter was called for hearing on [10] MOTION for Preliminary Injunction , MOTION to
 Expedite by State of Louisiana; [29] Cross MOTION to Dismiss for Lack of Jurisdiction, Cross
 MOTION to Dismiss For Failure to State a Claim Plaintiff's Complaint, Cross MOTION for
 Summary Judgment and Opposition to Plaintiff's Motion for Preliminary Injunction by All
 Defendants.

 The motions were taken under advisement, a written ruling to follow.
